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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :
                                                :
                                                :
                                                :     CASE: 21-mj-17 (GMH)
             v.                                 :
                                                :
 CLEVELAND GROVER MEREDITH,                     :
 JR.,                                           :
                                                :
                       Defendant.               :


                        NOTICE OF SUBSTITUTION OF COUNSEL

         PLEASE NOTICE the appearance in this action of Anthony L. Franks, United States

Department of Justice, Assistant United States Attorney, the United States Attorney’s Office, as

counsel for the United States of America in place of Assistant United States Attorney Ahmed

Baset.



                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             Acting United States Attorney
                                             N.Y. Bar No. 4444188


                                     By:     /s/ Anthony L. Franks
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                                             Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       On this 17th day of February 2021, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                              /s/ Anthony L. Franks
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